Case 1:04-cr-00385-LMB Document 524 Filed 08/26/20 Page 1 of 2 PageID# 3397


                                                           FILED: August 26, 2020

                    UNITED STATES COURT OF APPEALS
                        FOR THE FOURTH CIRCUIT

                              ___________________

                                    No. 20-4441
                              (1:04-cr-00385-LMB-1)
                              ___________________

UNITED STATES OF AMERICA

             Plaintiff - Appellant

v.

ALI AL-TIMIMI

             Defendant - Appellee

                              ___________________

                                   ORDER
                              ___________________

      The court appoints Jonathan R. Turley to represent Ali Al-Timimi for this

appeal. Counsel is referred to the CJA Payment Memorandum and the CJA

eVoucher Page for information on appointment terms and procedures.

       CJA authorization for preparation of transcript is obtained by submitting an

AUTH-24 request in the district eVoucher system. New appellate counsel must

contact district eVoucher staff for appointment to the underlying district court case

in order to submit the AUTH-24 request for district judge approval and the CJA 24

voucher for transcript payment. Counsel must also submit a Transcript Order Form
Case 1:04-cr-00385-LMB Document 524 Filed 08/26/20 Page 2 of 2 PageID# 3398


to the court reporter and district court and file the same in the court of appeals with

the docketing statement. Upon filing of the Transcript Order Form, the Fourth

Circuit will set deadlines for completion of the transcript.

      CJA 20 and 21 vouchers are submitted for payment through the Fourth

Circuit's CJA eVoucher system. Upon receiving email notification of this

appointment from eVoucher, counsel may create CJA 20 and 21 vouchers for use

in maintaining time and expense records and paying for expert services.

      All case filings must be made using the court's Electronic Case Filing system

(CM/ECF). Counsel not yet registered for electronic filing should proceed to the

court's web site to register as an ECF filer. See Required Steps for Registration

as an ECF Filer.

                                        For the Court--By Direction

                                        /s/ Patricia S. Connor, Clerk
